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                                       Exhibit 2
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09/14/2009     Electronic Clerk's Notes for proceedings held before Magistrate Judge Marianne B. Bowler:
               Motion Hearing held on 9/14/2009. The court heard oral arguments from the parties and ruled
               on the motions from the bench. (5725 in 1:01-cv-12257-PBS) MOTION to Compel the
               Production of Documents filed by Dey L.P., Dey Inc., Dey L.P., Inc., is taken under
               advisement. (5728 in 1:01-cv-12257-PBS) MOTION to Compel Luis Cobo and Ven-A-Care of
               the Florida Keys, Inc. to Produce Documents filed by Dey L.P., Dey Inc., Dey L.P., Inc., is
               ALLOWED as to the audit documents and not the remaining documents. (5776 in 1:01-cv-
               12257-PBS) MOTION to Compel Production of Documents Responsive to Subpoena filed by
               Dey L.P., Dey Inc., Dey L.P., Inc., is MOOT as to the state of Delaware and as to the other
               three states, the court has taken it under advisement. (5678 in 1:01-cv-12257-PBS) MOTION
               for Protective Order Regarding the Roxane Defendants' Rule 30(b)(6) Notice filed by United
               States, ex rel., is ALLOWED. (6264 in 1:01-cv-12257-PBS) Emergency MOTION to Quash
               Defendant Purepac Pharmaceutical Co.'s Cross-Notice of Continued Videotaped Deposition of
               Lynn Donovan filed by State of Iowa, is taken under advisement. (5672 in 1:01-cv-12257-PBS)
               MOTION for Clarification filed by United States, ex rel., is DENIED without prejudice. (6262
               in 1:01-cv-12257-PBS) Amended MOTION to Quash [Corrected] Plaintiffs' Emergency
               Motion to Quash Defendant Schering-Plough Corporation's, Schering Corporation's and
               Warrick Pharmaceutical Corporation's Cross-Notice of Continued Deposition of Lynn
               DonovaAmended MOTION to Quash [Corrected] Plaintiffs' Emergency Motion to Quash
               Defendant Schering-Plough Corporation's, Schering Corporation's and Warrick
               Pharmaceutical Corporation's Cross-Notice of Continued Deposition of Lynn Donova filed by
               The City of New York and Captioned New York Counties, is taken under advisement. (5898 in
               1:01-cv-12257-PBS) MOTION to Compel Testimony filed by United States, ex rel., is DENIED
               without prejudice. (5976 in 1:01-cv-12257-PBS) MOTION for Protective Order Regarding
               Defendants' Rule 30(b)(6) Deposition Topics filed by State of California, is withdrawn without
               prejudice. (5697 in 1:01-cv-12257-PBS) MOTION to Compel Production of Documents and
               Rule 30(b)(6) Deposition of Kansas Health Policy Authority and Memorandum of Law in
               Support Thereof MOTION to Compel Production of Documents and Rule 30(b)(6) Deposition
               of Kansas Health Policy Authority and Memorandum of Law in Support Thereof filed by
               Boehringer Ingelheim Corp., Roxane Laboratories, Inc, Boehringer Ingelheim Roxane, Inc,
               Boehringer Ingelheim Pharmaceuticals, Inc., is ALLOWED. (6384 in 1:01-cv-12257-PBS)
               MOTION Defendants Dey, Inc., Dey, L.P., and Dey L.P., Inc's Motion for Leave to Participate
               in the Depositions of Carolyn Helton and Robin Kreush Stone filed by Dey L.P., Dey Inc., Dey
               L.P., Inc., is ALLOWED. (Digital Recording #d/r.)(Attorneys present: Henderson, Fauci, Paul,
               Mullin, Townes, Breen, Cicala on behalf of the plaintiffs. Gortner, Reed, Farquhar, and Bueker
               on behalf of the defendants.) Associated Cases: 1:01-cv-12257-PBS et al.(LaRoche, Donald)
               (Entered: 09/21/2009)
